
USCA1 Opinion

	










          November 9, 1995      [NOT FOR PUBLICATION]
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 95-1469


                                    PAUL S. DOPP,
                                Plaintiff, Appellant,

                                          v.

                                   JAY A. PRITZKER,
                                 Defendant, Appellee.

                              _________________________


                                     ERRATA SHEET
                                     ERRATA SHEET

               The opinion of  this court  issued on October  26, 1995,  is
          corrected as follows:

          On cover sheet   change "Mahoney" to "Mahony"








































          October 26, 1995      [NOT FOR PUBLICATION]
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1469

                                    PAUL S. DOPP,
                                Plaintiff, Appellant,

                                          v.

                                   JAY A. PRITZKER,
                                 Defendant, Appellee.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]
                                          __________________________

                              _________________________

                                        Before

                          Selya and Boudin, Circuit Judges,
                                            ______________

                             and Saris,* District Judge.
                                         ______________

                              _________________________

               Roger R. Crane, Jr.,  with whom Todd B. Marcus  and Bachner,
               ___________________             ______________      ________
          Tally, Polevoy &amp; Misher LLP were on brief, for appellant.
          ___________________________
               Gael Mahony, with  whom Frances s.  Cohen, Joshua M.  Davis,
               ___________             _________________  ________________
          Hill &amp; Barlow, Salvador Antonetti-Zequeira, and Fiddler, Gonzalez
          _____________  ___________________________      _________________
          &amp; Rodriguez were on brief, for appellee.
          ___________

                              _________________________



                              _________________________

          _______________
          *Of the District of Massachusetts, sitting by designation.




















                    SELYA, Circuit Judge.   This case comes to  us not as a
                    SELYA, Circuit Judge.
                           _____________

          stranger.  Following a jury verdict finding the defendant, Jay A.

          Pritzker,  liable to  his  erstwhile partner,  plaintiff Paul  S.

          Dopp,  in the sum of  $2,000,000, the district  court disposed of

          several post-trial motions.  See Dopp  v. HTP Corp., 755 F. Supp.
                                       ___ ____     _________

          491  (D.P.R. 1991) (Dopp I).   On appeal, we upheld the liability
                              ______

          verdict  but vacated both the  jury's damage award  and the trial

          court's rulings in connection with equitable relief.  See Dopp v.
                                                                ___ ____

          HTP Corp., 947 F.2d 506 (1st  Cir. 1991) (Dopp II).  The district
          _________                                 _______

          court  then   conducted  a  second  trial   to  determine  Dopp's

          entitlement to various  forms of  redress.  The  jury returned  a

          series  of special  findings  and the  district  court entered  a

          revised  judgment.   See  Dopp v.  HTP  Corp., 831  F.  Supp. 939
                               ___  ____     __________

          (D.P.R. 1993) (Dopp III).
                         ________

                    Both sides expressed dismay  with the revised judgment.

          After  hearing  a gaggle  of  appeals, we  affirmed  the district

          court's  denial of a resultory remedy; upheld the jury's award of

          full damages  (originally,  $17,000,000) on  condition  that  the

          plaintiff remit  the excess  over $14,171,962; ordered  a limited

          new trial absent a  remittitur; and set aside the  sanctions that

          the  district court had imposed  pursuant to P.R.  Laws Ann. tit.

          32, app. III, R.44.1(d) &amp; 44.3(b) (1984 &amp; Supp. 1989).   See Dopp
                                                                   ___ ____

          v.  Pritzker, 38  F.3d 1239  (1st  Cir. 1994)  (Dopp IV).   These
              ________                                    _______

          rulings necessitated a remand.

                    Our  warning that  this  seemingly  endless  litigation

          showed signs of having "taken on a life of its own," id. at 1255,
                                                               ___


                                          3














          proved prophetic.   When  the  parties returned  to the  district

          court, the wrangling continued.  Judge Pieras issued a battery of

          orders in an  effort to close  the case.   Dopp now appeals.   He

          strikes  six  separate  chords.   We  write  somewhat  sparingly,

          confident that the reader  who hungers for more detail  will find

          no shortage of it in earlier opinions.

                    First:  On remand, Dopp beseeched the district court to
                    First:
                    _____

          add  prejudgment interest to the damage award.  The court refused

          to do so.  Dopp assigns error.  We see none.

                    This is "a diversity case in which the substantive  law

          of Puerto Rico supplies the basis of decision."  Dopp IV, 38 F.3d
                                                           _______

          at 1252.  Thus, a federal  court must give effect to Rule 44.3(b)

          of the Puerto Rico Rules of Civil Procedure.  Under that rule, if

          a  plaintiff  recovers  money  damages and  the  court  finds the

          defendant to have been  guilty of obstinacy, the court  must then

          add prejudgment  interest to the verdict.   See id.; see  also De
                                                      ___ ___  ___  ____ __

          Leon Lopez v. Corporacion  Insular de Seguros, 931 F.2d  116, 126
          __________    _______________________________

          (1st Cir.  1991); Fernandez v. San Juan Cement Co., 118 P.R. Dec.
                            _________    ___________________

          713 (1987).

                    Here,  however, there  is  no basis  for  a finding  of

          obstinacy.  See Dopp IV, 38  F.3d at 1253-55.  Accordingly,  when
                      ___ _______

          Dopp, in the  aftermath of  our latest opinion,  asked the  lower

          court  to add prejudgment interest, the court demurred.  It ruled

          that,  absent  obstinacy,  Puerto  Rico law  furnished  no  other

          vehicle  by  which a  court     as opposed  to  a  jury or  other




                                          4














          factfinder    could impose prejudgment interest in a case of this

          genre.1   We  agree:   where  prejudgment  interest is  available

          under  Puerto Rico  law,  the Civil  Code expressly  so provides.

          See, e.g., P.R. Laws Ann. tit. 31,    3025, 3514;  P.R.R. Civ. P.
          ___  ____

          44.3(b).   Here, Dopp points  to no  provision in the  Civil Code

          authorizing the  add-on that he  seeks.  The absence  of any such

          provision is, as the  district court recognized, fatal  to Dopp's

          claim.

                    Second:   In  a related  vein, Dopp  contends that  the
                    Second:
                    ______

          district court should  have acted  ex cathedra, as  it were,  and
                                             __ ________

          increased  the dollar amount of  the verdict to  reflect delay in

          payment.  This contention is triply flawed.

                    In the  first place, Dopp rests  his argument primarily

          on a  statute that he  did not  mention below.2   Yet, "[i]f  any

          principle is settled in this circuit, it is that, absent the most

          extraordinary circumstances, legal  theories not raised  squarely

          in  the lower  court  cannot be  broached for  the first  time on
                              
          ____________________

               1At  the  time  of  the  second  trial,  the  jury  was  not
          instructed to consider  the time value of money as  an element of
          Dopp's damages, and  Dopp did  not preserve an  objection to  the
          omission of such  an instruction.  He  has, therefore, foreclosed
          that avenue.  See Toscano v. Chandris, S.A., 934 F.2d 383, 384-85
                        ___ _______    ______________
          (1st Cir. 1991).

               2The  statute,  P.R. Laws  Ann. tit.  31,    7,  provides in
          pertinent part:

                         When there is  no statute applicable  to
                    the case at issue,  the court shall decide in
                    accordance  with  equity,  which  means  that
                    natural justice, as  embodied in the  general
                    principles of jurisprudence  and in  accepted
                    and established usages and customs,  shall be
                    taken into consideration.

                                          5














          appeal."   Teamsters, Chauffeurs,  Warehousemen &amp;  Helpers Union,
                     ______________________________________________________

          Local No.  59 v. Superline Transp. Co., 953 F.2d 17, 21 (1st Cir.
          _____________    _____________________

          1992).  The  circumstances here are not out of  the ordinary.  To

          seal the  bargain, Dopp  offered no  argumentation based on  this

          statute in his opening appellate brief.   It is hornbook law that

          an argument omitted from  an appellant's opening brief is  deemed

          waived, notwithstanding its belated emergence in the reply brief.

          See, e.g., Sandstrom v. Chemlawn Corp., 904 F.2d 83, 87 (1st Cir.
          ___  ____  _________    ______________

          1990).

                    In the second place, this argument is barred by the so-

          called mandate  rule.  In  attempting to sustain  the $17,000,000

          damage award, Dopp asserted a variety of theories that he claimed

          justified the higher award.  See Dopp IV, 38 F.3d at 1248-51.  We
                                       ___ _______

          rejected his  asseverations.   Under  the  mandate rule     which

          provides in substance that "[a] decision of an appellate tribunal

          on a particular issue,  unless vacated or set aside,  governs the

          issue  during all  subsequent stages  of  litigation in  the nisi

          prius court, and thereafter on any further appeal," United States
                                                              _____________

          v. Rivera-Martinez,  931 F.2d  148,  150 (1st  Cir. 1991),  cert.
             _______________                                          _____

          denied, 502 U.S. 862 (1992)   Dopp is precluded from relitigating
          ______

          the  point.   The bar  erected by  the mandate rule  remains firm

          despite the fact that a party, the second time around, drapes his

          contention in  slightly  different garb.   See  United States  v.
                                                     ___  _____________

          Bell,  988  F.2d 247,  250-51 (1st  Cir.  1993); see  also United
          ____                                             ___  ____ ______

          States v. Connell, 6 F.3d 27, 30 (1st Cir. 1993) (explaining that
          ______    _______

          interests  of  consistency  and  judicial  economy  dictate  that


                                          6














          litigants  not  be  allowed  "[s]erial  bites  at  the  appellate

          apple").

                    In  the third place, the Puerto  Rico Supreme Court has

          never applied section  7 in  the manner that  Dopp suggests,  and

          none of  the Puerto Rico  cases that  he cites indicate  that the

          commonwealth's  courts would  be willing  to take such  a lengthy

          stride  in a contract case based on a commercial transaction gone

          sour.3   Having in mind  that Dopp  chose the federal  forum, the

          lack of precedent sounds a death knell for his claim.  See Martel
                                                                 ___ ______

          v. Stafford, 992 F.2d 1244, 1247 (1st Cir. 1993) (explaining that
             ________

          a plaintiff who  opts for a  "federal forum  in preference to  an

          available state forum may  not expect the federal court  to steer

          state  law into unprecedented configurations"); Porter v. Nutter,
                                                          ______    ______

          913 F.2d 37, 41 (1st Cir. 1990) (similar); Kassel v. Gannett Co.,
                                                     ______    ___________

          875 F.2d 935, 949-50 (1st Cir. 1989) (similar).

                    Third:   Dopp  insists that  the district  court should
                    Third:
                    _____

          have permitted him  to decide  anew whether he  would accept  the

          remittitur  after  it  had  denied his  motions  for  prejudgment

          interest  and enhancement  of the  verdict.   We think  not.   On

          remand, Dopp faced a simple choice:  he could take his chances on

                              
          ____________________

               3Dopp  relies principally on two cases.  The first, Rojas v.
                                                                   _____
          Maldonado, 68 P.R. 757 (1948), is a wrongful death action dealing
          _________
          with  the  measurement and  translation  of  a bereaved  parent's
          suffering into money  damages.   The case has  no application  to
          contract  damages (which,  under  Puerto  Rico  law,  are  to  be
          measured as of the date of the actionable breach).  Dopp's second
          offering,  Suro v. E.L.A.,  111 P.R. Dec.  564 (1981),  is also a
                     ____    ______
          wrongful death action.  It deals with how a court  should measure
          a  decedent's lost future earnings.   See id.  at 569-70, 574-75.
                                                ___ ___
          The Suro opinion has no relevance to the issue at hand.
              ____

                                          7














          another trial or he could accept the remittitur and have judgment

          entered in  the reduced amount.   The district  court supportably

          found  that  Dopp elected  the latter  course.   This  finding is

          reviewable  only for abuse of discretion.  See De Leon Lopez, 931
                                                     ___ _____________

          F.2d at  120 n.3.   Given Dopp's  serial filings in  the district

          court, we discern no hint of  abuse either in the finding that he

          elected the remittitur or in the timing of his election.

                    Fourth:    Money  judgments in  federal  civil  actions
                    Fourth:
                    ______

          ordinarily carry postjudgment interest  until paid, see 28 U.S.C.
                                                              ___

            1961(a),4  and the parties    who agree on little  else   agree

          that  this   case  comes  within   the  statute's  sweep.     Not

          surprisingly,  there is a rub:   Dopp seeks postjudgment interest

          on the first  $2,000,000 in  damages not from  December 13,  1993

          (the date on  which the  district court entered  judgment on  the

          more  recent jury verdict) but  from March 23,  1990 (the date on

          which the district  court entered  judgment on  the initial  jury

          verdict).  He has no such entitlement.

                    The relevant  facts are  as follows.   The  first trial

          resulted  in a jury verdict of $2,000,000, and the district court

          entered judgment in that amount.  We vacated the judgment  in all

          "its relief-related  aspects."   Dopp II, 947  F.2d at 520.   The
                                           _______
                              
          ____________________

               4The statute reads in relevant part:

                    Interest   shall  be  allowed  on  any  money
                    judgment  in  a  civil  case recovered  in  a
                    district court. . . .  Such interest shall be
                    calculated from the date  of the entry of the
                    judgment. . . . .

          28 U.S.C.   1961(a) (1988).

                                          8














          parties then retried  the case  on damages and  the jury  awarded

          Dopp $17,000,000 (later reduced  to $14,171,962).  Dopp theorizes

          that postjudgment interest should  accrue on the first $2,000,000

          in damages from the date of the vacated judgment rather than from

          the  date of the larger  judgment that was  entered following the

          second  jury verdict.    For his  part,  Pritzker maintains  that

          postjudgment interest should run only from the latter date.

                    The premier authority  on this point is Kaiser  Alum. &amp;
                                                            _______________

          Chem.  Corp.  v.  Bonjorno, 494  U.S.  827  (1990).   In  Kaiser,
          ____________      ________                                ______

          following a jury  verdict for the  plaintiff, the district  court

          granted the defendant's  motion for  a new trial  limited to  the

          issue of damages on the ground that the evidence did not  support

          the  award.   The  second trial  produced  a larger  verdict that

          proved impervious to appellate review.  Interpreting  28 U.S.C.  

          1961(a),  see supra  note  4, the  Supreme  Court concluded  that
                    ___ _____

          postjudgment interest  on the  entire award should  be calculated

          from the entry of the second judgment.  The  Court reasoned that,

          when  a damage  award  is "not  supported  by the  evidence,  the

          damages have not been ascertained in any meaningful way."  Id. at
                                                                     ___

          836.  In such circumstances,  "[i]t would be counterintuitive, to

          say  the least,  to believe  that Congress  intended postjudgment

          interest to be calculated from such a judgment."  Id.
                                                            ___

                    Kaiser  controls  here.    The first  trial  yielded  a
                    ______

          verdict  from which we found it "[i]mpossible  . . . to determine

          what sort of damages the jurors thought they were awarding or how

          they arrived at the  stated figure of $2,000,000."   Dopp II, 947
                                                               _______


                                          9














          F.2d at  513.   In other words,  the judgment,  like the  current

          crush of  tabloid stories recounting Elvis  sightings, lacked any

          visible means  of support.   These indicia are  characteristic of

          cases in  which postjudgment  interest can  only accrue from  the

          date of the second judgment.  See Cordero v. De Jesus-Mendez, 922
                                        ___ _______    _______________

          F.2d  11, 16  (1st Cir.  1990) (explaining  that, when  the first

          judgment is not  "basically sound" and  "lacks an evidentiary  or

          legal basis," postjudgment interest should run only from the date

          of the second judgment).

                    We  need  not  beat  this  drum  incessantly.    As  we

          indicated at the  time, the  first judgment was  so riddled  with

          uncertainty  that we  could  not "decipher  the character  of the

          damage  award."   Dopp II,  947 F.2d  at 514.   We  confessed our
                            _______

          inability  to  divine  whether  the  sum  awarded   by  the  jury

          represented full or accessory damages; what election of remedies,

          if  any, the  plaintiff had  made; and  the extent  to which  the

          verdict represented inconsistent or duplicative remediation.  See
                                                                        ___

          id.  at 515-16.    The  lack of  clarity  that marked  the  first
          ___

          judgment,   coupled  with   our   determination  that   all   the

          participants had  a hand in producing the  chaos, see id. at 516,
                                                            ___ ___

          suggests that  the damages were  not ascertained in  a meaningful

          way in March  of 1990.   One simply cannot  say on this  scumbled

          record either that the evidence supported the initial judgment on

          damages  or that the second  judgment was a  mere modification of

          the first.

                    Dopp seeks to avoid this result by reliance upon Bailey
                                                                     ______


                                          10














          v.  Chattem, Inc., 838 F.2d 149, 153-55 (6th Cir.), cert. denied,
              _____________                                   _____ ______

          486  U.S. 1059  (1988).   The Bailey  court decided,  on specific
                                        ______

          facts, that where the damages  found in a second trial include  a

          lesser  amount found by the jury in the first trial, postjudgment

          interest  on the  lesser  amount may  run from  the  date of  the

          original judgment.   See id.  at 154.   Assuming, arguendo,  that
                               ___ ___                      ________

          Bailey's reasoning  survives the  Court's subsequent decision  in
          ______

          Kaiser   a matter on which we take no view   the opinion is of no
          ______

          assistance to Dopp's cause.  In Bailey, unlike in this  case, the
                                          ______

          first judgment was  precise in  terms of exactly  what the  money

          damages represented, and it was vacated only because the court of

          appeals  found  the trial  judge's  instruction  on a  particular

          element of damages  to be inadequate.   See id.   Apart from  the
                                                  ___ ___

          errant  instruction, it was  crystal clear what  the evidence had

          proven with  regard to  the defendant's liability,  what remedies

          were being sought, and what damages were in fact determined to be

          due.5

                    Of course,  it is possible  that this court  could hark

          back  to  the  jury's  original  verdict,  speculate  about  what

          actually  had been  determined, and  surmise, in  light of  human
                              
          ____________________

               5To  supplement Bailey, Dopp hawks a string of Tenth Circuit
                               ______
          cases that stress  the importance, in applying section 1961(a) to
          serial judgments, of  assessing the extent to  which the original
          judgment  has been reversed.  See, e.g., Northern Natural Gas Co.
                                        ___  ____  ________________________
          v. Hegler, 818 F.2d  730, 737 (10th Cir. 1987),  cert. dismissed,
             ______                                        _____ _________
          486 U.S. 1063 (1988); Ashland Oil, Inc. v. Philips Petroleum Co.,
                                _________________    _____________________
          607 F.2d  335, 336 (10th Cir.  1979), cert. denied, 446  U.S. 936
                                                _____ ______
          (1980).  These cases afford Dopp scant succor.  Here, even though
          we  upheld  the  jury's  liability determination,  we  found  the
          initial  damage award to be completely inscrutable and vacated it
          entirely.

                                          11














          experience, what the  jury was  saying about the  harm caused  by

          Pritzker.  Later,  with the  benefit of hindsight  informed by  a

          retrial, a  second appeal,  and countless legal  maneuverings, we

          could  attempt to peel off the layers of litigation and return to

          the starting place with some better inkling of what that long-ago

          verdict  might have  meant.   But reasoning  backward is  not our

          proper  function.    The hallmarks  of  the  first judgment  were

          ambiguity  and  uncertainty,  and   Dopp  has  not  produced  any

          dependable means  of dispelling  the mist.   Because  the damages

          were not ascertained  in any  meaningful way by  the first  jury,

          postjudgment  interest runs  only  from the  date  of the  second

          judgment.

                    Fifth:     Dopp's  next  point  implicates  his  former
                    Fifth:
                    _____

          counsel, the law firm of  Ledesma, Palou &amp; Miranda (LP&amp;M).   LP&amp;M

          represented  Dopp pursuant  to a  contingency fee  agreement (the

          Agreement) throughout the protracted  litigation between Dopp and

          the Pritzker interests.  Under the Agreement, LP&amp;M was to receive

          25%  of "all amounts recovered" in the litigation.  Following the

          second jury  verdict, the district court indicated  that, if Dopp

          elected  full damages as his  anodyne of choice,  the court might

          "enter a  Judgment which will  include the payment  of attorneys'

          fees to [LP&amp;M]."   Dopp III, 831  F. Supp. at 959  n.30; see also
                             ________                              ___ ____

          id. at 960  n.31.   Although this suggestion  slipped from  sight
          ___

          during the ensuing appeal,  it proved to be a harbinger of things

          to come.

                    We issued our opinion  in Dopp IV on October  28, 1994.
                                              _______


                                          12














          A petition  for rehearing  consumed  some additional  time.   Our

          mandate then issued.   On February 10, 1995, Dopp,  through LP&amp;M,

          filed a motion in the district court.  In it, he acknowledged the

          lid that  this court  had placed  on full damages  ($14,171,962),

          calculated the portion of the award that Pritzker was entitled to

          extinguish by  reason of  certain litigated credits,6  and prayed

          that the district court order immediate payment of the net amount

          remaining.    The  motion  included,  as  part  of  an  intricate

          explanation  concerning  how  best  to  calculate  the  litigated

          credits, a line  item in the amount  of $3,542,990.50    a figure

          equal to 25%  of the  reduced award  of full  damages    labelled

          "Ledesma,  Palou &amp;  Miranda."   On March  10, 1995,  the district

          court  entered  a  final  judgment  which,  among  other  things,

          purported  to deduct  $3,542,990.50 from  Dopp's recovery  and to

          redirect that amount to LP&amp;M.

                    In the meantime, trouble erupted in paradise.  On March

          14, LP&amp;M, despite  having done  yeoman work for  Dopp, moved  for

          leave  to  withdraw  as  his  counsel.    Dopp,  acting  pro  se,

          simultaneously  filed a  pleading signifying  his desire  to drop

          several pending  motions  (including  the  motion  for  immediate

          payment).  The district court granted LP&amp;M's motion  to withdraw,

          but  denied Dopp's  omnibus pleading  as moot,  stating  that the

          March 10 judgment "addressed all pending issues."
                              
          ____________________

               6We  discussed  the  complicated  questions  surrounding the
          litigated credit issue  at some  length in Pritzker  v. Yari,  42
                                                     ________     ____
          F.3d 53, 65-74  (1st Cir. 1994),  cert. denied, 115  S. Ct.  1959
                                            _____ ______
          (1995).   It  would  serve no  useful  purpose to  rehearse  that
          discussion here.

                                          13














                    Dopp assigns error to the portion of the final judgment

          that earmarks funds  for LP&amp;M.   In his  view, the direction  for

          payment  is unconstitutional because LP&amp;M  is not a  party to the

          action, and any  judgment purportably rendered  for or against  a

          non-party is void.

                    We  need not  probe this  point too  deeply.   The fees

          claimed  by LP&amp;M are hotly disputed (earlier this year, LP&amp;M sued

          Dopp for payment  in a  separate suit that  is currently  pending

          before  a different judge of the district court), the court below

          made no  findings to  underbrace  the direction  for payment  (we

          cannot tell, for example, what the court knew of the fee dispute,

          or the basis on which it resolved any controversy), and the court

          offered  no rationale  for its  order.7   Moreover, LP&amp;M  has not

          intervened  in  this  action  and  the  district  court  has  not

          appropriately asserted in personam jurisdiction over it.
                                 __ ________

                    These  omissions cast  a pall  over the  court's order.

          The tenet is that remand is required when a district court offers

          no explanation  of a ruling, makes no findings, and the basis for

          the ruling cannot confidently be discerned on appeal.  See, e.g.,
                                                                 ___  ____

          Pearson v. Fair, 808 F.2d 163, 165 (1st Cir. 1986)  (per curiam);
          _______    ____

          see also  Domegan v.  Fair, 859 F.2d  1059, 1066 (1st  Cir. 1988)
          ___ ____  _______     ____

          (warning  that,  without  any  explication  of  a  trial  judge's

                              
          ____________________

               7It  is possible,  of course,  that Dopp lured  the district
          court  into following this course  by inserting the  line item in
          his motion for payment.  See supra p. 12.   Even if this were so,
                                   ___ _____
          however, we would  not find  an estoppel because  the motion  for
          payment was  crafted  by the  beneficiary  of the  direction  for
          payment, LP&amp;M, then acting as Dopp's counsel.

                                          14














          reasoning, the court of appeals is "sometimes forced to remand in

          order to apprehend  the basis  for decision below").   Here at  a

          bare  minimum,   several  things   must  happen  before   we  can

          intelligently review the propriety  of the direction for payment.

          First, the law  firm must  intervene in the  action or  otherwise

          assert a  claim of right  to a portion  of the judgment  (say, by

          garnishment  or impressment  of a  lien).   Second, Dopp  must be

          given notice  and  an  opportunity  to  contest  the  law  firm's

          claim.8  If, after  these two things have been  accomplished, the

          court concludes that a  direction for payment is proper,  it must

          set forth  specific findings  and elucidate its  ratio decidendi.
                                                           _____ _________

          Since none of these essential ingredients have yet been prepared,

          we  vacate the direction for  payment and remand  to the district

          court for further proceedings limited to that issue.9

                    Sixth:  Last and  least, Dopp asks us to  pass upon the
                    Sixth:
                    _____

          bill of costs he submitted below.   Because the district court to

          our  knowledge  has not  yet  addressed  that submission,  Dopp's

          request  to this  court is premature.   See Mason  v. Belieu, 543
                                                  ___ _____     ______
                              
          ____________________

               8We take no position on the  merits of the fee dispute or on
          the degree to which that dispute may or may not be susceptible to
          resolution within the four corners of the instant case.

               9Although the size of LP&amp;M's fee arguably affects the amount
          of at  least one  litigated credit  and, thus, could  conceivably
          have  an impact on Pritzker's  net payment to  Dopp, Pritzker did
          not  cross-appeal either from  the trial court's  allocation of a
          sum  certain to  LP&amp;M or  from its  computation of  the litigated
          credits.    Before  us,  Pritzker maintains  the  same  hands-off
          attitude, stating  that he "takes  no position in  th[e] dispute"
          over the propriety of including LP&amp;M  within the judgment proper.
          Appellee's Brief at 15 n.8.  Thus, on remand, the  district court
          need not  consider Pritzker's interests in  its further treatment
          of this issue.

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          F.2d 215, 222 (D.C. Cir.), cert. denied, 429 U.S. 852 (1976).
                                     _____ ______

                    We need go no  further.  The district court did not err

          in  determining  that the  award of  full  damages, as  capped on

          appeal, should not  be augmented by  the addition of  prejudgment

          interest or  enhanced to reflect the  delay in payment.   Nor did

          the court err in determining that the plaintiff made  a valid and

          binding  election to  accept the  remedy of  full damages  and to

          remit the excess of  the award over $14,171,962.   We, therefore,

          affirm the court's rulings in these respects.  At the  same time,

          we direct that postjudgment interest on the reduced award  should

          accrue, at the federal  statutory rate, see 28 U.S.C.    1961(a),
                                                  ___

          from  December 13, 1993.  Finally, we vacate the judgment insofar

          as  it  calls  for Pritzker  to  pay  a portion  of  the proceeds

          directly to LP&amp;M, and we remand for further proceedings solely in

          regard to  that aspect of the  matter.  Costs on  appeal shall be

          taxed in favor of the appellee.



          It is so ordered.
          It is so ordered.
          ________________


















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